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                              IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, ex rel.
RONALD J. STRECK,
                                                                CIVIL ACTION NO. 13-7547
                  v.

BIOV AIL PHARMACEUTICALS, INC.                                  FILED UNDER SEAL
n/k/a V ALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.


                                                     ORDER


         The United States and certain of the plaintiff states 1 hav:ing declined to intervene in this

action, pursuant inter alia to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B) and pursuant to the

respective state statutes of the plaintiff states, the Court rules as follows:

         IT IS ORDERED that only the Complaint, including all exhibits, be unsealed and served

upon the defendants.

         IT IS FURTHER ORDERED that all other contents of the Court's file in this action

remain under seal and not be made public or served upon the defendant, except for this Order

and the Government's Notice of Election to Decline Intervention, which relator shall serve upon

the defendants only after service of the Complaint.             The seal shall be lifted as to all other

matters occurring in this action after the date of this Order.

         All Orders of this Court shall be sent to the United States, and the parties are further

ordered to serve all pleadings and motions in this action, including supporting memoranda, and

all notices of appeal, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3).                   The


1
 For purposes of this order, the Plaintiff States include: California, Colorado, Connecticut, Delaware, Florida,
Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana,
Nevada, New Jersey, New Mexico, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Washington,
Wisconsin, Virginia and the District of Columbia.
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United States may order any deposition transcripts and is entitled to intervene in this action at

any time for good cause.

         Should the relator or the defendants propose that this action be dismissed, settled, or

otherwise discontinued, the Court will solicit the written consent of the United States before

ruling or granting its approval.        Any dismissal of this action, or any part of this action, shall be

without prejudice as to the United States unless the United States consents to dismissal with

prejudice. 2

         IT IS SO ORDERED, .

         This _ _ _ _ day of _ _ _ _ _ _ _, 2017.




                                                       BY THE COURT:




                                                       HON. TIMOTHY J. SAVAGE
                                                       Judge, United States District Court




2
  In accordance with the terms of the Maryland False Health Claims Act, Md. Code Ann., Health Gen,§ 2-604
(a)(7), the State of Maryland having declined to intervene in this matter, all claims asserted on behalf of Maryland
are hereby dismissed without prejudice.

                                                          2
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PLAINTIFF UNDER SEAL                      FILED UNDER SEAL


    v.                                    CIVIL ACTION NO. 13-7547


DEFENDANT UNDER SEAL




                   UNITED STATES' NOTICE OF ELECTION
                       TO DECLINE INTERVENTION




                                          LOUIS D. LAPPEN
                                          Acting United States Attorney


                                         MARGARET L. HUTCHINSON
                                         Chief, Civil Division


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                            FILED UNDER SEAL
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, ex rel.
RONALD J. STRECK,
                                                               CIVIL ACTION NO. 13-7547
                  v.

BIOVAIL PHARMACEUTICALS, INC.                                  FILED UNDER SEAL
n/k/a V ALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.


                       UNITED STATES' AND PLAINTIFF STATES' NOTICE
                          OF ELECTION TO DECLINE INTERVENTION

         The United States, pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), .and

certain of the plaintiff states, 1 pursuant to their respective state statutes, notify the Court of their

intention not to intervene in this action.

         Although the United States and the plaintiff states decline to intervene, we respectfully

refer the Court to the False Claims Act, which allows the relator to maintain the action in the name

of the United States, providing, however, that the "action may be dismissed only ifthe court and

the Attorney General give written consent to the dismissal and their reasons for consenting."                    31

U.S.C. § 3730(b)(l) (emphasis added).            Any dismissal should be without prejudice to the United

States and to the plaintiff states. 2




1
  For purposes of this notice, the plaintiff states include: California, Colorado, Connecticut, Delaware, Florida,
Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana,
Nevada, New Jersey, New Mexico, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Washington,
Wisconsin, Virginia and the District of Columbia.
2
  In particular, the Maryland False Health Claims Act provides that 'If the State does not elect to intervene and
proceed with the action ... before unsealing the complaint, the court shall dismiss the action.' Md. Code Ann., Health
Gen, § 2-604 (a)(7). Accordingly, the State of Maryland requests that all claims asserted on behalf of the State of
Maryland be dismissed without prejudice.                                                               ·
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         Therefore, the United States requests that, should either the relator or the defendants

propose that this action be dismissed, or otherwise discontinued, the Court first solicit the written

consent of the United States before ruling or granting its approval.

         Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that all Orders

of the Court and pleadings filed in this action be served upon the United States.     The United

States also requests that it be served with all notices of appeal.   The United States reserves its

right to order any deposition transcripts and to intervene in this action at a later date for good

cause.

         Finally, the United States and the plaintiff states request that only the Complaint, including

exhibits, and this notice be unsealed, which relator should serve upon the defendants.      All other

contents of the Court's file in this matter (including, but not limited to, any motions filed by the

United States for an extension of the sixty-day investigative period or for any other reason) should

remain under seal because in discussing the content and the extent of the United States'

investigation, such papers are provided by law to the Court alone for the sole purpose of

evaluating whether the seal and time for making an election to intervene should be extended.

         A proposed ordei: accompanies this notice.

Dated:    October 6, 2017                      Respectfully submitted,




                                               Assistant United States Attome


                                                   2
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of October 201 7, I caused a copy of the foregoing

United States' Notice of Election to Decline Intervention, to be served by first class mail, postage

prepaid, upon:

                              Daniel R. Miller, Esq.
                              Joy Clairmont, Esq.
                              BERGER & MONTAGUE, P.C.
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                              Philadelphia, PA 19103

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                              Attorneys for Relator


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       Washington, DC 20530                           Raleigh, NC 27612




                                                      ERIC D. GILL
                                                      Assistant United States Attorney
